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                         EXHIBIT A
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                                        P 503 350 5800 T 800 547 4407 F 503 350 5890
                                    10300 SW ALLEN BOULEVARD, BEAVERTON OR 97005
                                                          WWW.EPIQSYSTEMS.COM




 December18,2017
 
 To: SettlementCounsel
      InrePaymentCardInterchangeFeeandMerchantDiscountAntitrustLitigation
 
 Re: FundingRequestforOctober2016–November2017Invoices
 
 Funding is requested for invoices issued by Epiq for fees and costs incurred since the prior Funding
 RequestdatedOctober12,2016.Thesefourteeninvoicestotal$49,317.65andprincipallyrelatetothe
 following activities:  staffing the tollͲfree number and email inbox to respond to class member
 questions,maintainingandupdatingthesettlementwebsite,andperiodicreportingforcounsel.
 
                             EpiqInvoice# Date             Amount
                             90169558          10/31/2016       $3,068.46
                             90173080          11/30/2016       $2,542.38
                             90176228          12/31/2016       $4,461.48
                             90179787            1/31/2017      $3,283.69
                             90183634            2/28/2017      $3,169.33
                             90187491            3/31/2017      $2,716.90
                             90191429            4/30/2017      $2,519.25
                             90195448            5/31/2017      $4,938.11
                             90199634            6/30/2017      $2,072.39
                             90203057            7/31/2017      $2,035.84
                             90207134            8/31/2017      $3,261.78
                             90210752            9/30/2017      $6,822.48
                             90214637          10/31/2017       $5,559.77
                             90218963          11/30/2017       $2,865.79
                           Total:                         $49,317.65
 
 Epiqrecommendsthattheseoutstandinginvoicesbepaid$41,920.00(85%)fromthePayment
 InterchangeClassIQSFand$7,397.65(15%)fromtheClassSettlementInterchangeEscrowAccount(s)
 (FundII).Shouldadifferentallocationbepreferred,pleaseadvise.
 
 PaymentmaybewiredtoEpiqviathefollowingaccount:
 
          EpiqClassAction&ClaimsSolutions
          SiliconValleyBank
          ABA#121140399
          Account#3300483242
          Re:PaymentCardInterchange

 Iftherearequestionsorconcerns,pleaseletmeknow.
 
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                                 104781

 Sincerely,
 /s/
 LauranSchultz
 VicePresident
